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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
TH:JPM/EJD                                        271 Cadman Plaza East
F#: 2020R01027                                    Brooklyn, New York 11201



                                                  August 9, 2021

By ECF

The Honorable Sanket J. Bulsara
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Quintin Green, et al.
                      Criminal Docket No. 20-331 (S-1) (LDH)

Dear Judge Bulsara:

               The government respectfully submits this letter in support of its motion for a
permanent order of detention as to defendants Quintin Green and Kevin Wint. Green, Wint,
and their co-defendants Chayanne Fernandez and Maliek Miller, who are already detained on
prior federal charges, are members of a violent street gang – the Ninedee Gang – in
Brooklyn, New York. As described below, defendant Green is charged with, among other
offenses, carrying out the brutal murder of a former federal witness, and defendant Wint, a
leader of the gang, is charged with racketeering and being an accessory after the fact to that
murder. As to both defendants, the charges they face trigger the presumption that “no
condition or combination of conditions will reasonably assure the appearance of the
[defendants] as required and the safety of the community.” 18 U.S.C. § 3142(e)(3)(A), (B).
For the reasons set forth below, the Court should enter permanent orders of detention.

I.     The Charged Offenses

               The defendants Quintin Green (also known as “Wild Child”), Kevin Wint
(also known as “Kev G”), Chayanne Fernandez (also known as “White Boy”) and Maliek
Miller (also known as “Leek”)1 are charged in a superseding indictment (the “Superseding
Indictment”) with violent crimes, as well as drug and fraud offenses, arising out of their
membership in the Ninedee Gang, a local street gang that operates out of the New York City

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              Defendants Miller and Fernandez are already subject to permanent orders of
detention. See United States v. Miller, 20-CR-331 (LDH), ECF Dkt. No. 16; United States
v. Chayanne Fernandez, 20-CR-397 (NGG), ECF Dkt. No. 4.
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Housing Authority Louis H. Pink Houses (the “Pink Houses”) in the East New York
neighborhood of Brooklyn. The Ninedee Gang is affiliated with certain residential buildings
in the Pink Houses and associated with a gang called the “Loopy Gang.” Ninedee members
also affiliate with the Eight Trey Crips and certain Ninedee members are also Eight Trey
Crips. The gang’s members support themselves through drug sales, principally by selling the
gang’s branded marijuana, “90 Runtz,” as well as crack cocaine, and also through various
“scamming” offenses, which involves using stolen credit card and identity information to
make purchases. The gang, as well as its affiliated gangs, have longstanding rivalries with
other criminal gangs in East New York and within the Pink Houses.

                Count One of the Superseding Indictment charges racketeering, in violation of
18 U.S.C. § 1962(c), against defendants Wint, Fernandez, and Miller. Racketeering Act One
alleges that all three defendants conspired to commit a drug trafficking offense; Racketeering
Act Two alleges that the defendant Wint conspired to commit access device fraud; and
Racketeering Act Three alleges that defendants Fernandez and Miller committed, and
conspired to commit, the murder of Shatavia Walls. Count Two charges defendants Wint,
Fernandez and Green with drug trafficking conspiracy, in violation of 21 U.S.C. § 846.
Counts Three and Four charge defendants Green, Fernandez and Miller with conspiracy to
commit murder in-aid-of racketeering and murder in-aid-of racketeering, respectively, in
violation of 18 U.S.C. § 1959(a). Counts Five and Six charge Green, Fernandez and Miller
with unlawful use of firearms related to crimes of violence, in violation of 18 U.S.C.
§§ 924(c) and 924(j). Count Seven charges defendant Miller with being a felon in possession
of ammunition in violation of 18 U.S.C. § 922(g). Count Eight charges defendant Wint with
being an accessory after the fact to murder, in violation of 18 U.S.C. § 3. Count Nine
charges defendant Green with attempted Hobbs Act robbery, in violation of 18 U.S.C.
§ 1951(a).

                The most serious charges in the Superseding Indictment relate to the July 7,
2020 murder of Shatavia Walls, a former federal witness. Ms. Walls had testified in a
criminal trial in this District in June 2019 against a member of the Loopy Gang and, in
particular, testified that the gang member had shot her at the Pink Houses in the fall of 2017.
Prior to that trial, Ms. Walls had been subject to significant witness intimidation, including
the public posting of flyers calling her a “rat” throughout the Pink Houses. During the night
on July 7, 2020, Ms. Walls was shot numerous times by two assailants—defendant Quintin
Green and a juvenile male.

              At trial, the government will demonstrate that the plot to murder Ms. Walls
was formed by members of the Ninedee Gang, including defendants Green, Miller,
Fernandez and others, after they learned of a dispute between Ninedee members Maliek
Miller and Chayanne Fernandez and Ms. Walls that occurred on the Fourth of July 2020.
During that confrontation, defendant Miller called Ms. Walls a “snitch,” a reference to her
prior testimony at a federal trial, and fired a gunshot into the air.

              In the days following the confrontation, members of the Ninedee Gang,
including Green, developed a plan to murder Ms. Walls. Three days after the Fourth of July

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incident, Green and a juvenile male waited at the Pink Houses all afternoon and through the
early evening for an opportunity to shoot Ms. Walls, changing their clothes throughout the
day in order to disguise their appearance. At approximately 9:25 p.m., as Ms. Walls was
walking alone on an outdoor path inside the Pink Houses, Green approached her from
behind. As captured on surveillance video, after Ms. Walls turned to face Green and
appeared to exchange words with him, Green raised his arm and fired a gunshot at Ms.
Walls. The gunfire caused bystanders to flee into a nearby building; one bystander was
struck by a bullet fired by Green. Ms. Walls turned to flee from Green, who then leapt over a
fence and chased her, continuing to fire at her as she attempted to run away from him.
Surveillance video reflects that the juvenile male then began to fire at Ms. Walls as she ran
towards him. Green caught up to Ms. Walls and fired multiple gunshots towards her, causing
her to fall along a pathway behind 2678 Linden Boulevard. Green and the juvenile male then
fled the area. Following the murder and increased law enforcement presence at the Pink
Houses, certain of the defendants fled the Pink Houses to a location in Queens with the
assistance of Wint.

              Ms. Walls died at a hospital as a result of complications from gunshot
wounds on July 17, 2020.

               Following the homicide, multiple members of the Ninedee Gang appeared to
claim credit for the murder on social media. For example, Wint posted a New York Daily
News article about the shooting of Ms. Walls on July 9, 2020:




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As the post reflects, Wint’s account contains the word “Ninedee” in its display name. Below
this post, Green, using a Facebook account with the name “Wildkhild,” posted the word
“Ninedee,” claiming the shooting for the gang. About a week prior to this post, the
defendant Fernandez had used his Facebook account to link to a news article about a gunman
who had shot a cab driver in Brooklyn and wrote the caption, “DAMN REST UP SMH
THAT’s 90,” implying the gang was involved in the homicide.

               Defendants Wint, Fernandez, and Miller are also alleged to have participated
in drug trafficking and Defendant Wint is charged access device fraud offenses in connection
with their membership in the Ninedee Gang. The Ninedee Gang also has significant access
to firearms, as reflected by the fact that the defendant Fernandez is separately charged with
two firearm offenses in this District. See Docket No. 20-CR-397 (NGG). Those charges
relate to two separate firearm possession incidents from 2019 and 2020, including a shooting
committed by Fernandez at the Pink Houses.

               Finally, Green is also charged with the attempted robbery of a Target store in
Staten Island on November 3, 2020. Surveillance video demonstrates, and reports from store
employees confirms, that Green and another individual attempted to steal two large high-
definition televisions from the Target. After a security guard stopped Green and his
companion, Green briefly walked away. With the security guard looking away, defendant
Green punched her from behind. After the security guard fell, Green grabbed a television


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and ran for the parking lot. There, he was intercepted by another security guard and gave up
the television. Green was then arrested by the NYPD as he tried to flee.

II.    Legal Standard and Procedure

               The Bail Reform Act of 1984, codified at 18 U.S.C. §§ 3141-3156, “requires
that an accused be detained pending trial where, following a hearing in accordance with
§ 3142(f), ‘the judicial officer finds that no condition or combination of conditions will
reasonably assure the appearance of the person as required and the safety of any other person
and the community.’” United States v. English, 629 F.3d 311, 318 (2d Cir. 2011) (quoting
18 U.S.C. § 3142(e)(1)). While a finding of dangerousness must be supported by clear and
convincing evidence, United States v. Ferranti, 66 F.3d 540, 542 (2d Cir. 1995), risk of flight
can be proven by a preponderance of the evidence, United States v. Jackson, 823 F.2d 4, 5
(2d Cir. 1987).
                In cases like this one, involving crimes of violence and specified violations of
the Controlled Substances Act, “it shall be presumed,” subject to rebuttal by the defendants,
“that no condition or combination of conditions will reasonably assure the appearance of the
person as required and the safety of the community.” 18 U.S.C. § 3142(e)(3). The
presumption means that the Court must initially assume there is “no condition or
combination of conditions that will reasonably assure the appearance of the person as
required and the safety of any other person and the community.” Id. A defendant must come
“forward with evidence that he does not pose a danger to the community or a risk of flight.”
United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001). Even if a defendant were to
meet his burden of production, “the presumption favoring detention does not disappear
entirely, but remains a factor to be considered among those weighed by the district court.”
Id.

                The concept of “dangerousness” encompasses not only the effect of a
defendant’s release on the safety of identifiable individuals, such as victims and witnesses,
but also “‘the danger that the defendant might engage in criminal activity to the detriment of
the community.’” United States v. Millan, 4 F.3d 1038, 1048 (2d Cir. 1993) (quoting
legislative history). Indeed, danger to the community includes “the harm to society caused
by [the likelihood of continued] narcotics trafficking.” United States v. Leon, 766 F.2d 77,
81 (2d Cir. 1985). When a finding of dangerousness is related to violent conduct, it need not
be shown that the defendant personally engaged in violence. United States v. Colombo, 777
F.2d 96, 98 (2d Cir. 1985).
              Four factors guide the Court’s determination of whether a defendant should be
released on bail:
              (1)     “the nature and circumstances of the offense charged,
                      including whether the offense is a crime of violence . . .
                      or involves a . . . firearm . . .”;

              (2)     “the weight of the evidence against the person”;


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               (3)     “the history and characteristics of the person, including .
                       . . the person’s character, . . . past conduct, . . . [and]
                       criminal history, and record concerning appearance at
                       court proceedings”; and

               (4)     “the nature and seriousness of the danger to any person
                       or the community that would be posed by the person's
                       release.”

18 U.S.C. § 3142(g).
                Evidentiary rules do not apply at detention hearings, and the government is
entitled to present evidence by way of proffer, among other means. See 18 U.S.C.
§ 3142(f)(2); see also United States v. LaFontaine, 210 F.3d 125, 130-31 (2d Cir. 2000). In
the pre-trial context, few detention hearings involve live testimony or cross-examination.
Most proceed on proffers. Id. at 131. This is because bail hearings are “typically informal
affairs, not substitutes for trial or even for discovery.” Id. (internal quotation marks omitted).
The Second Circuit has reversed district courts where they have not credited the
government’s proffer, including proffers with respect to a defendant’s dangerousness. See,
e.g., Mercedes, 254 F.3d at 437 (“Roman has twice been convicted of weapon possession –
one felony conviction, and one misdemeanor conviction. We find the district court
committed clear error in failing to credit the government’s proffer with respect to Roman’s
dangerousness.”).
IV.    Argument
       A.      The Defendants Pose a Danger to the Community

                No bail package will protect the community from the danger posed by the
defendants. Because defendant Green has been indicted for a crime for which the maximum
term is life and offenses under 18 U.S.C. § 924(c), there is a presumption that there are no
conditions of release that can reasonably assure their appearance and the safety of the
community. See 18 U.S.C. § 3142(e)(3). The same presumption applies to defendant Wint
on account of his drug-trafficking charge in Count Two. See id. The defendants cannot
rebut such a presumption, regardless of any bail package that may be proposed, because the
relevant considerations under the Bail Reform Act clearly support a finding of dangerousness
and risk of flight.

               The defendants cannot overcome the presumption that they are a danger to the
community. The violent crimes with which they are charged—murder, murder conspiracy,
accessory after-the-fact to murder, firearms and robbery—are very serious offenses. The
murder at issue here was based on witness retaliation and the senseless promotion of gang
violence. The evidence showed that the defendants worked over several days to plan, target,
and carry out the premeditated murder of Ms. Walls. The defendants also knew of the



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victim’s status as prior federal witness prior to killing her. In broadcasting their role in her
murder on social media, the defendants were both claiming credit for the murder but also
sending a message to others who would assist law enforcement.

               Second, membership in a violent enterprise like the Ninedee gang is itself an
ongoing danger to the community. The Ninedee Gang affiliates with other violent street
gangs, and its members often share multiple allegiances with other gangs. Within the Pink
Houses, the factional rivalries furthered by the Ninedee Gang and others wreak havoc on the
community’s residents. Wint held a senior position within the gang was therefore known as
a “Big Ninedee.” Wint has prior convictions for Criminal Possession of a Weapon in the
Fourth Degree in violation of N.Y.P.L. § 265.01(1) (2013), for which he was sentenced to
one year in prison, Conspiracy in the Fifth Degree (2015), for which he was sentenced to one
year in prison. Additionally, Wint has a prior conviction for Possessed of a Forged
Instrument in the Third Degree (2015). He committed several of the offenses with which he
is now charged while on pre-trial release for a still-pending Criminal Possession of a Weapon
charge in Kings County Supreme Court, for which he had been indicted in 2019. Green also
has a prior conviction for criminal possession of a firearm, and was on probation at the time
he murdered Ms. Walls.

               Third, the Ninedee Gang and associated gangs within the Pink Houses,
actively target those who cooperate with law enforcement. As described above, Miller called
Ms. Walls a “snitch” before discharging a firearm on July 4 in an attempt to threaten her. He
then participated in the plot to murder her. Miller also has posted on his Facebook account
describing those who help law enforcement as “rats.” Just over a month after the shooting,
Miller posted such a message (using an emoji of a rat) while referring to the gang. Wint has
also posted police paperwork and photographs referring to “RAT[s]” on his Facebook.

                Finally, prior interactions with the criminal justice system appear to have had
little deterrent effect on the defendants; each defendant charged in the Superseding
Indictment carried out his role in the offense despite being under some form of court
supervision (parole, probation or pre-trial release) at the time of Ms. Walls’s murder. That is
why the Second Circuit has repeatedly rejected elaborate bail packages for violent
defendants, even ones that include “home detention and electronic monitoring,” which the
Court has explained try to “replicate a detention facility without the confidence of security
such a facility instills. If the government does not provide staff to monitor compliance
extensively, protection of the community would be left largely to the word of [the defendant]
that [he] will obey the conditions.” United States v. Millan, 4 F.3d 1039, 1049 (2d Cir.
1993) (citation and internal quotation marks omitted).

       B.      The Defendants Pose a Risk of Flight

               The defendants all pose a significant risk of flight given the nature of the
offenses charged and strength of the government’s case. Three defendants—Green,
Fernandez, and Miller—are charged with capital offenses. If convicted of the murder
charges, they face a minimum sentence of life imprisonment. As to defendant Wint, who is

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 charged with racketeering, being an accessory after the fact to murder, and drug trafficking,
 he faces significant term of imprisonment, in addition to open charges in state court.
                The government’s evidence is also strong. The government has video
 surveillance evidence capturing the murder of Ms. Walls, various of the defendants meeting
 before the shooting, and the defendants’ subsequent flight. The government’s proof at trial
 will include, among other evidence, testimony from several witnesses present at the Pink
 Houses at the time of the murder; cell-site records; posts and communications from social
 media accounts belonging to the defendants; and ballistics evidence. Ballistics recovered
 from the location of the murder confirms that two firearms were used in the murder. That
 evidence further showed that one of murder weapons was the same handgun used by
 defendant Miller when he fired the gunshot at the confrontation with the victim three days
 earlier.
                When the incentives to flee are so strong, as here, no combinations of sureties
 and other restrictions can assure their appearance. See, e.g., United States v. English, 629
 F.3d 311, 321-22 (2d Cir. 2011) (affirming detention in part because the defendant was
 charged under § 924(c), faced a presumption against release, and a mandatory minimum
 sentence that incentivized fleeing); United States v. Henderson, 57 F. App’x. 470, 471 (2d
 Cir. 2003) (summary order) (“the presumption regarding flight risk has changed because
 Becton now faces a ten-year mandatory minimum sentence”). That remains true even if the
 defendants accept electronic surveillance and home confinement. See United States v.
 Orena, 986 F.2d 628, 632 (2d Cir. 1993) (“electronic surveillance systems can be
 circumvented by the wonders of science and of sophisticated electronic technology”)
 (internal quotation marks omitted).
 V.     Conclusion

                For the foregoing reasons, the government respectfully requests that the court
 issue permanent orders of detention against defendants Quintin Green and Kevin Wint to
 ensure their return to court and the safety of the community.

                                                    Respectfully submitted,

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 cc:    Clerk of the Court (by ECF)




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